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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF PUERTO RICO
                               OLD SAN JUAN DIVISION

  IN RE:                                                          CASE NO.: 14-09530-MCF13
                                                                               CHAPTER 13
  HARRY LUIS SANTANA LAMBOY,
         Debtor,
  _________________________________/


                  PRELIMINARY RESPONSE TO OBJECTON TO CLAIM

        NOW COMES OCWEN LOAN SERVICING, LLC, AS SERVICER FOR U.S. BANK

 NATIONAL ASSOCIATION, AS TRUSTEE, SUCCESSOR IN INTEREST TO BANK OF

 AMERICA, NATIONAL ASSOCIATION, AS TRUSTEE, SUCCESSOR BY MERGER TO

 LASALLE       NATIONAL         BANK,    AS   TRUSTEE      FOR    BCF    L.L.C.      MORTGAGE

 PASS-THROUGH CERTIFICATES, SERIES 1997-R3 (“Secured Creditor”), by and through its

 undersigned attorney, hereby files its Preliminary Response to Objection to Claim (“Objection”),

 and in support thereof states as follows:

        1. Secured Creditor holds an interest in Debtor’s real property located at Calle L #135

            Base Ramey, Aguadilla, PR 00603.

        2. On July 17, 2017, Debtor filed an Objection, asserting allegations opposing Secured

            Creditor’s claim.

        3. Due to mistake and inadvertence, Secured Creditor’s Proof of Claim was not filed
            prior to the Claims Bar Date.

        4. Secured Creditor realizes the importance of adhering to the Claims Bar Date.




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        5. Secured Creditor has filed this claim in good faith, to rectify either its own or a prior
           servicer’s mistake.

        6. Debtor will not be prejudiced by allowing the Proof of Claim to stand as of the
           Claims Bar Date. All amounts stated in the proof of claim are reasonable and
           permitted by the loan documents. Allowance of these amounts will ensure Debtor
           receives the fresh start they are entitled to in regard to Secured Creditor’s claim.

        7. Secured Creditor requires additional time to review its records and investigate the

           issues raised in Debtor’s Objection, and requests a hearing be set on same.

        8. Secured Creditor reserves the right to supplement its Preliminary Response to

           Debtor’s Objection at any time before or at the hearing.

                                              ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                              Attorney for Secured Creditor
                                              6409 Congress Ave., Suite 100
                                              Boca Raton, FL 33487
                                              Telephone: 561-241-6901
                                              Facsimile: 561-241-1969

                                              By: /s/ Andrea Daliz Vega Jimenez
                                              ANDREA DALIZ VEGA JIMÉNEZ, Esquire
                                              USDC No. 304007
                                              Email: advjimenez@rasflaw.com




                                 CERTIFICATE OF SERVICE



            I HEREBY CERTIFY that on August 17, 2017, I electronically filed the foregoing

 with the Clerk of Court by using the CM/ECF system, and a true and correct copy has been

 served via CM/ECF or United States Mail to the following parties:


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 HARRY LUIS SANTANA LAMBOY
 CALLE L 135 BASE RAMEY
 AGUADILLA, PR 00603

 ELBIA I VAZQUEZ DAVILA
 CALLE PRINCIPAL NUM 21
 URB EL RETIRO
 SAN GERMAN, PR 00683

 JOSE RAMON CARRION MORALES
 PO BOX 9023884
 SAN JUAN, PR 00902-3884

 U.S. Trustee
 MONSITA LECAROZ ARRIBAS
 OFFICE OF THE US TRUSTEE (UST)
 OCHOA BUILDING
 500 TANCA STREET SUITE 301
 SAN JUAN, PR 00901


                                     ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                     Attorney for Secured Creditor
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                                     Boca Raton, FL 33487
                                     Telephone: 561-241-6901
                                     Facsimile: 561-241-1969

                                     By: /s/ Andrea Daliz Vega Jimenez
                                     ANDREA DALIZ VEGA JIMÉNEZ, Esquire
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